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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :   Chapter 15
In re:                                                         :
                                                               :   Case No. 15-12271 (BLS)
                                                  1
ESSAR STEEL ALGOMA INC., et al.,                               :
                                                               :   (Jointly Administered)
         Debtors in a foreign proceeding.                      :
                                                               :   Hearing Date: December 2, 2015 at 12:00 p m.
                                                                   (ET)
                                                               :   Objection Deadline: November 25, 2015 at 4:00
                                                               :   p m. (ET)
                                                               :
                                                               :   Re: Docket Nos. 1, 8

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            OBJECTION OF CLIFFS TO RECOGNITION OF FOREIGN
       PROCEEDING AND RELATED RELIEF AND RESERVATION OF RIGHTS

            The Cleveland-Cliffs Iron Company, Northshore Mining Company, and Cliffs Mining

Company (hereinafter “Cliffs”), parties in interest in the Chapter 15 proceeding, hereby submit

this objection (the “Objection”) to the Chapter 15 Petition for Recognition of a Foreign

Proceeding submitted by Essar Steel Algoma Inc. (“Algoma”) in its capacity as the foreign

representative (the “Foreign Representative”) in the Foreign Debtors’ proceedings under the

Companies’ Creditors Arrangement Act (the “CCAA”) pending before the Ontario Superior

Court of Justice (the “CCAA Proceeding”). In support of this Objection, Cliffs respectfully

represents as follows:




            1
            The Debtors in the foreign proceeding and the last four digits of each Debtor’s United States Tax
Identification Number, Canadian Business Number, Provincial Corporation Number, or Netherlands Chamber of
Commerce Number, as applicable, are as follows: Essar Steel Algoma Inc. (0642), Essar Steel Algoma Inc. USA
(8788), Essar Steel Algoma (Alberta) ULC (6883), Essar Tech Algoma Inc. (8811), Algoma Holdings B.V. (1679),
and Cannelton Iron Ore Company (9965). The Debtors’ principal offices are located at 105 West Street, Sault Ste.
Marie, Ontario P6A 7B4, Canada. (Referred to herein collectively as the “Foreign Debtors”)




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                                       PRELIMINARY STATEMENT

                  1.        The Foreign Debtors seek entry of a broad recognition order in this Court

in an effort to bind this Court to automatic acceptance of rulings in the CCAA Proceeding far

beyond what chapter 15 envisions and to avoid the Court reexamining an extraordinary, interim

order the Foreign Debtors hope to obtain in the CCAA Proceeding. This Court should reject the

Foreign Debtors’ attempt to bind, and prejudice the rights of, U.S. creditors without the review

required by the Court under section 1522 of the Bankruptcy Code.

                  2.        In the CCAA Proceeding, the Foreign Debtors are seeking an order (the

“CCAA Order”) purporting to require Cliffs to resume performance of a contract terminated on

October 5, 2015, weeks before the commencement of the CCAA Proceeding and the filings in

this Court. Recognition of the CCAA Order (if obtained) would usurp a non-core state law claim

already pending in federal district court in Ohio and grant the CCAA court power to order

mandatory, interim injunctive relief outside of Canada and in the United States. 2 That is no

doubt why the Foreign Debtors seek the broad recognition order rather than a later application to

this Court for specific recognition when and if the CCAA Order is obtained. 3

                  3.        The Foreign Debtors have already hedged their bets by filing an adversary

proceeding and a motion to compel in this Court, implicitly recognizing that the contract at issue
            2
            Whether Cliffs validly terminated the parties’ previous supply agreement is an issue fully before the N.D.
Ohio in that pending litigation. The Ohio court has already decided that Algoma breached the parties’ agreement
with respect to the payment and delivery terms for at least the 2014 nomination, and a trial on the remaining disputes,
including the termination, was set to begin on December 7, 2015. (See Order, The Cleveland Cliffs Iron Company,
et al. v. Essar Steel Algoma Inc., No. 1:15-cv-0063 (N.D. Ohio Oct. 7, 2015) [D.I. 60] [hereinafter Cliffs v. Essar];
Minutes of Proceeding, id. (July 21, 2015) [D.I. 33].) Algoma’s bankruptcy filings have stayed that litigation, but
they should not change the forum for adjudication. For this and other reasons, the District Court of Delaware should
withdraw the reference and transfer the adversary proceeding back to the N.D. Ohio. Cliffs is separately filing a
motion to withdraw the reference in the District Court of Delaware.
            3
             Indeed, Algoma has told this Court that it would only seek specific relief against Cliffs here in this Court
if it is not successful in the CCAA Proceeding. See First Day Hr’g Tr. at 15-16 (noting Algoma would seek relief
related to Cliffs in the U.S. only if the Canadian Court does not provide relief sought); D.I. 8 at 13, ¶ 33, fn. 4
(noting Algoma would seek relief in either this Court or the Canadian Court).




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is a U.S. asset. 4 But the Proposed Final Recognition Order (D.I. 8, Ex. B) (the “Proposed

Recognition Order”) includes a provision that section 365 “shall hereby apply” without further

consideration of the individual contracts implicated. (Proposed Recognition Order at 6, ¶ 5.) In

effect, the Foreign Debtors wish to obtain a favorable ruling as to the Agreement in the CCAA

Proceeding, and then use the automatic application of section 365 sought in this Court to allow it

to enforce the Agreement as interpreted by the Canadian Court without further review. This is a

blatant attempt to avoid the application of section 1522. The only manner in which section 365

can be applied in a chapter 15 proceeding is through section 1521, which necessitates that the

Court consider the rights and protections due to other parties under section 1522.

                 4.       The Foreign Debtors’ request for an overly broad recognition order should

be denied, and the Court should make clear that any order purporting to require performance in

the U.S. will be examined independently by this Court after careful consideration and protection

of the rights of Cliffs in these matters.

                                               BACKGROUND

            A.   The Pellet Agreement.

                 5.       Cliffs had a decades-long relationship with Essar Steel Algoma Inc.’s

predecessor, Algoma Steel Inc. (“Old Algoma”), which gave rise to the Pellet Sale and Purchase

Agreement (the “Agreement”). The Agreement provided that Algoma was to pay for and take

delivery of, and Cliffs was to supply, all of Algoma’s yearly requirements of iron ore pellets

                 each calendar year through 2016. Essar Global Limited acquired Old Algoma in

2007, and Essar Steel Algoma Inc. became the successor-in-interest to Old Algoma’s rights and



            4
         Given the limited jurisdiction of this Court in a chapter 15 case, this was the only manner in which
Algoma could have argued that jurisdiction should lie in this Court.




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Algoma expected Cliffs to honor the price and provide pellets whenever Algoma demanded,

Algoma failed to take its nominated tonnage or take and pay                       . (Id. ¶¶ 13-21,

23, 27-36; id. ¶ 26, Ex. 24 (Order at 11, Cliffs v. Essar (Oct. 7, 2015) [D.I. 60]).) In short,

Algoma deprived Cliffs of the benefits of a long term agreement. (Id.¶ 13.)

            B.   The Prior Pending Ohio Litigation Between Cliffs and Algoma.

                 8.    On January 12, 2015, Cliffs filed suit against Algoma in the U.S. District

Court for the Northern District of Ohio for breach of contract and declaratory judgment based on

breaches of the Agreement going back to 2013 (the “Ohio Litigation”). (Mee Aff. ¶ 22, Ex. 19

(Compl., Cliffs v. Essar (Jan. 12, 2015) [D.I. 1]).) Algoma answered and filed counterclaims

(including a claim for “excessive moisture”) on February 11, 2015. (Id. ¶ 22, Ex. 19 (Ans., Cliffs

v. Essar (Feb. 11, 2015) [D.I. 17]).) On August 31, 2015, Cliffs amended its Complaint to

include claims for additional breaches and violation of Ohio trade secret law. Cliffs also sought

a declaratory judgment that Algoma’s material breaches of the Agreement had substantially

impaired the value of the Agreement. (Id. ¶ 27, Ex. 25 (Am. Compl., Cliffs v. Essar (Aug. 31,

2015) [D.I. 43]).)

                 9.    Judge Donald C. Nugent set the case for trial on December 7, 2015 and set

the discovery deadline for October 30, 2015. (Id. ¶ 22, Ex. 19 (Minutes of Proceeding, Cliffs v.

Essar (July 21, 2015) [D.I. 33]).) Since early 2015, the parties had engaged in extensive written

discovery and third party discovery and conducted inspections of each other’s facilities.

                 10.   On July 31, 2015, Cliffs filed a motion for partial summary judgment on

the issues of whether Algoma breached the Agreement as to its 2014 nomination of iron ore and

on Algoma’s “excessive moisture” claim. (Id. ¶ 26, Ex. 23 (Mot. Partial Summ. J., Cliffs v.

Essar (July 31, 2015) [D.I. 35]).) On October 7, 2015, Judge Nugent ruled in Cliffs’ favor on

Algoma’s moisture claim. (Id. ¶ 26, Ex. 24 (Order at 15, Cliffs v. Essar (Oct. 7, 2015) [D.I.


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60]).) On Cliffs’ breach of contract claim with respect to Algoma’s 2014 nomination, Judge

Nugent held that “Essar [Algoma] failed to meet its annual requirements [in 2014] by a margin

of at least 500,000 tons.” (Id. (Order at 11).) The Court found as a matter of law that Algoma

had breached the Agreement as to its 2014 nomination. (Id.)

                   11.      During the pendency of the Ohio Litigation, Algoma’s conduct went from

bad to worse. Algoma fell even further behind in its obligations to pay for and take iron ore than

what had prompted Cliffs to sue in the first place. By September 30, Algoma had taken only

                tons against a 2015 nomination of                            tons. (Id. ¶¶ 28, 30, Ex. 26.) By

October, Algoma was about                            behind on what it should have paid Cliffs in 2015 for

deliveries that should have already been taken. (Id. ¶ 40.) Algoma also owed Cliffs another

            in true-up payments for 2013, 2014, and the first two quarters of 2015 for ore Algoma

received and consumed. (Id. ¶ 42.) Judge Nugent’s October 7 ruling on Cliff’s motion for

partial summary judgment removed the excuses Algoma made for millions in missed payments.

                   12.      In light of Algoma’s past and continually worsening non-performance, and

because Algoma’s breaches had substantially impaired the value of the Agreement, Cliffs

terminated the Agreement effective October 5. (Id. ¶¶ 36-37, Ex. 30.) 5 This prompted Algoma

to file for a temporary restraining order and preliminary injunction to compel Cliffs to continue

to supply Algoma. (Id. ¶ 43, Ex. 32 (Def.’s Mot. for T.R.O., Cliffs v. Essar (Oct. 6, 2015) [D.I.

55]; Def.’s Mot. for Prelim. Inj., id. (Oct. 6, 2015) [D.I. 56]).) After the motions were fully


            5
        In its letter of termination, as an alternative basis for withholding supply Algoma under the terms of the
Agreement, Cliffs cited § 7(e), which provides:
                   In the event that Algoma shall fail to make payment when due of any amounts,
                   Cliffs in addition to all other remedies available to Cliffs in law or equity, shall
                   have the right, but not the obligation, to withhold further performance by Cliffs
                   under this Agreement until all claims Cliffs may have against Algoma under this
                   Agreement are fully satisfied.




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briefed by both parties and as the parties were preparing their hearing materials, including

exhibits and witnesses, Algoma withdrew its motions on October 15, stating that it had found

alternate suppliers that obviated its need to compel Cliffs’ performance. (Id. ¶ 49, Ex. 35 (Def.’s

Notice of Withdrawal of Mot. for T.R.O. and Mot. for Prelim. Inj., Cliffs v. Essar (Oct. 15, 2015)

[D.I. 68]).)

               13.    By the time discovery officially closed on October 30, 2015, Algoma had

not yet finished its document production and as a result had refused to schedule depositions. (Id.

¶ 50, Ex. 36 (Pls.’ Opp’n to Mot. for Change of Trial Date & New Case Schedule at 1-5, Cliffs v.

Essar (Nov. 5, 2015) [D.I. 76]).) Although the schedule was tight, Cliffs was prepared to go to

trial on December 7, 2015, and desired to keep the court-ordered schedule. (Id.)

               14.    At the time that the Foreign Debtors filed the CCAA Proceeding and their

chapter 15 petition in this Court, Algoma had two motions pending in the Ohio Litigation that

had been fully briefed but not yet decided by the Ohio court. First, on October 23, 2015, Algoma

had filed a motion for reconsideration of the October 7 order granting partial summary judgment

on Algoma’s excessive moisture counterclaim, which was fully briefed as of November 6. (Id.

¶ 51, Ex. 37 (Def.’s Mot. for Recons., id. (Oct. 23, 2015) [D.I. 71]; Pls.’ Opp’n to Mot. for

Recons., id. (Oct. 30, 2015) [D.I. 72]; Def.’s Reply in Supp. of Mot. for Recons., id. (Nov. 6,

2015) [D.I. 77]).) Second, on October 30, 2015, Algoma had filed a motion to change the trial

date, which Cliffs had opposed on November 5. (Id. ¶ 50, Ex. 36 (Def.’s Mot. for Change of

Trial Date & New Case Schedule, id. (Oct. 30, 2015) [D.I. 73]; Pls.’ Opp’n to Mot. for Change

of Trial Date & New Case Schedule, id. (Nov. 5, 2015) [D.I. 76]).)




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¶ 44.) The parties did not reach an agreement. On October 12, 2015, despite requesting a

meeting, Algoma failed to meet with Cliffs to negotiate the terms of a short term arrangement.

(Id. ¶ 48.) Algoma then broke off negotiations after announcing on October 15 that it had

secured pellets from other sources.      (Id. ¶ 49.)     Since October 15, 2015, Algoma has not

approached Cliffs asking Cliffs to supply on a short term or any other basis. (Id. ¶ 53.)

            E.  The Foreign Debtors Have Now Filed a Critical Supplier Motion in the
            CCAA Proceeding.

                  21.    On November 18, 2015, the Foreign Debtors filed a motion in the CCAA

Proceeding seeking to declare Cliffs to be a Critical Supplier to Algoma under CCAA § 11.4 (the

“Critical Supplier Motion”). (Mee Aff. ¶ 52, Ex. 38 (Mot. R., In re Essar Steel Algoma Inc., No.

CV-15-000011169-00CL (Can. Ont. Sup. Ct. J. Nov. 18, 2015) [hereinafter “Critical Supplier

Mot.”]).) This motion seeks an order from the Canadian Court to “compel[] Cliffs to continue to

supply iron ore pellets on terms and conditions consistent with the existing supply relationship or

that the Court considers appropriate (to be set out in a schedule to be attached to the Order, if

granted).” (Critical Supplier Mot. at 2, ¶ 1(c).)

                  22.    Algoma has not agreed to a business deal, and instead has opted to try to

enlist the Canadian Court to impose pricing and other terms on Cliffs to which Algoma is not

entitled under an Agreement that Algoma already has been judicially determined to have

breached by a U.S. court. On this and other bases, Cliffs will be filing an opposition to the

Critical Supplier Motion in the CCAA Proceeding.

                                           OBJECTION

            A.    The Proposed Recognition Order Seeks Overbroad, Blanket Relief Without
            Due Consideration of Other Parties’ Interests.

                  23.    The purpose and intent of relief granted upon recognition of a debtor’s

foreign proceeding is to ensure that a debtor’s assets and affairs in the United States are protected


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during the administration of that proceeding. See 11 U.S.C. § 1520(a). Like section 362, which

section 1520 makes applicable, section 1520 is not intended to be used as a sword, but as a

shield. Similarly, discretionary relief under section 1521 is designed simply to provide the

debtor with protection necessary to facilitate its foreign reorganization proceedings, while at the

same time balancing the playing field by protecting the interests of the debtor’s creditors. See In

re Atlas Shipping A/S, 404 B.R. 726, 738 (Bankr. S.D.N.Y. 2009) (noting the grant of

discretionary relief under § 1521(a) is necessary to further the purposes of Chapter 15 and

protect the debtor’s assets and the interests of creditors).

               24.     The scope of the discretionary, additional relief requested under

section 1521 in the Proposed Recognition Order, without explanation, goes far beyond that

which is required to protect the Foreign Debtors’ businesses or facilitate their reorganization

efforts in the CCAA Proceeding. The Proposed Recognition Order would have this Court give

blanket recognition to “[t]he CCAA Initial Order, including any extensions, amendments, or

modifications thereto” (p. 5, ¶ 3), “give[] full force and effect” to “the CCAA Proceeding and the

CCAA Initial Order, and the transactions consummated or to be consummated thereunder” (p. 6,

¶ 6), and apply sections 362 and 365 without further consideration or analysis (p. 6, ¶ 5). The

Foreign Debtors effectively seek to use this Court to enforce extraterritorial rulings, including

potential rulings of which neither the Court nor parties in interest are yet aware, without any

Court intervention or due process afforded to creditors and parties in interest. This type of broad

relief is not available under U.S. law.

               25.     A debtor seeking chapter 15 recognition and the protections afforded

under the Bankruptcy Code cannot avoid consideration of other parties’ interests. “Chapter 15,

like the Model Law, anticipates the provision of particularized protection, as stated in §




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1522(a),” when a Court is requested to provide discretionary relief under section 1521. Jaffé v.

Samsung Elecs. Co., 737 F.3d 14, 29 (4th Cir. 2013). “Chapter 15 does not require a U.S.

bankruptcy court, in considering a foreign representative’s request for discretionary relief under

§ 1521, to blind itself to the costs that awarding such relief would impose on others under the

rule provided by the substantive law of the State where the foreign insolvency proceeding is

pending.” Id. Indeed, “[t]he principle of comity has never meant categorical deference to

foreign proceedings.” In re Treco, 240 F.3d 148, 157 (2d Cir. 2001).

               1.     The Foreign Debtors’ request is overly broad in seeking recognition of
               “any extensions, amendments, or modifications thereto” that may be made to
               the CCAA Initial Order.

               26.     The Foreign Debtors request that this Court recognize and “give[] full

force and effect in the U.S.” to “[t]he CCAA Initial Order, including any extensions,

amendments, or modifications thereto.” (Proposed Recognition Order at 5, ¶ 3.) No party, other

than perhaps the Foreign Debtors, knows what any future “extension[], amendment[], or

modification[]” to the CCAA Initial Order may say. The Foreign Debtors should not be allowed

to obtain pre-recognition of rulings yet to come in the CCAA Proceeding without a full and fair

consideration by this Court.     Cliffs requests that the language “including any extensions,

amendments, or modifications thereto” be deleted from the Proposed Recognition Order.

               27.     The Foreign Debtors’ Critical Supplier Motion is but one example of how

this broad relief could be used to Cliffs’ detriment. Although the Foreign Debtors have asked the

Canadian Court for a separate order as to Cliffs and Algoma, it is unclear whether the Canadian

Court would enter a wholly separate order, or would enter an “extension[], amendment[], or

modification[]” to the CCAA Initial Order, which already deals with a critical supplier

determination and critical supplier charge for the suppliers Algoma requested as part of the initial

filings. If a critical supplier order compelling Cliffs to provide ore could be included in the


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CCAA Initial Order, then the language used regarding any extension, amendments or

modifications is overly broad.

                  28.      Cliffs recognizes that this and other Bankruptcy Courts have approved

proposed final recognition orders with this language, as noted in the Foreign Debtors’ motion.

(D.I. 8 at 24, ¶ 54.) However, in none of these prior cases had the debtor been attempting to use

chapter 15 recognition to compel another party to perform an earlier terminated contract. Nor

was this broad relief objected to in any of those cases. Indeed, in the two cases where a Critical

Supplier determination had been made under the CCAA and an order entered, these decisions

had been made by the Canadian court in each case prior to the U.S. court’s decision on the

requested recognition under chapter 15. Compare In re Catalyst Paper Corp., Case No. 12-

10221 (PJW) (Bankr. D. Del. Mar. 5, 2012) [D.I. 89] with In re Catalyst Paper Corp., No.

S120712 (Can. Sup. Ct. B.C. Feb. 7, 2012) (Critical Supplier order); compare In re Arctic

Glacier Int’l Inc., Case No. 12-10605 (KG) (Bankr. D. Del. Mar. 16, 2012) [D.I. 70] with In re

Arctic Glacier Income Fund, No. CI 12-01-76323 (Can. Man. Q.B. Winnipeg Feb. 22, 2012)

(Initial Order with Critical Supplier determination).

                  2.     The Foreign Debtors’ request is overly broad in seeking
                  pre-recognition of proceedings and rulings yet to occur.

                  29.      In addition to the recognition of any alterations to the Initial Order that the

Foreign Debtors seek in paragraph 3 of the Proposed Recognition Order, the Foreign Debtors

also request that this Court “give[] full force and effect in the U.S.” to all “transactions

consummated or to be consummated” in the CCAA Proceeding or through the CCAA Initial

Order and to make these “transactions” binding. (Proposed Recognition Order at 6, ¶ 6.) 6 Cliffs

            6
          Although this language, like the other broad relief Algoma seeks, has been adopted in other cases, it
likewise was not objected to in any of those cases.




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should not be put in the position to parse through exactly what the vague language “CCAA

Proceeding” and “the transactions consummated or to be consummated thereunder” means. The

Court should not give broad pre-recognition to things that have yet to happen. If the Canadian

Court enters the requested Critical Supplier order, or otherwise approves a “transaction” forcing

Cliffs to deliver product to Algoma, this language could provide full recognition without further

review by this Court, which would be wholly inappropriate.

                  3.     The Foreign Debtors’ request is overly broad in seeking blanket
                  application of § 365 without the protections of § 1522.

                  30.       The Foreign Debtors request that this Court order that section 365 “shall

hereby apply” without further consideration of the individual contracts implicated. (Proposed

Recognition Order at 6, ¶ 5.) In effect, Algoma is attempting to get application of section 365

via section 1521 and to be able to assume contracts within section 365 without the protections of

section 1522. The Bankruptcy Code does not sanction this blatant attempt to avoid section 1522.

The only manner in which section 365 can be applied in a chapter 15 proceeding is through

section 1521, which necessitates that the Court consider the rights and protections due to other

parties under section 1522. 7 See In re Qimonda AG Bankr. Litig., 433 B.R. 547, 559-62 (E.D.

Va. 2010) (holding § 365 may be applied only as discretionary relief under § 1521 with

consideration of § 1522). What Algoma appears to be attempting to do is to make section 365

applicable and then use section 365 against Cliffs without having the Court consider Cliffs’

            7
           Upon recognition, section 1521(a) of the Bankruptcy Code allows a bankruptcy court discretion, at the
request of the foreign representative, to grant a debtor certain additional relief “where necessary to effectuate the
purpose of this chapter and to protect the assets of the debtor or the interests of the creditors.” 11 U.S.C. § 1521(a).
Relief under § 365 is available only through the application of § 1521(a)(7): “any additional relief that may be
available to a trustee.” Section 1521(a) relief, however, is subject to clear constraints, including consideration of
§ 1522, which states “[t]he court may grant relief under section 1519 or 1521 . . . only if the interests of the creditors
and other interested entities, including the debtor, are sufficiently protected” and “may subject relief granted under
section 1519 or 1521, or the operation of the debtor’s business under section 1520(a)(3), to conditions it considers
appropriate, including the giving of security or the filing of a bond.” See Jaffe, 737 F.3d at 24.




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rights and the protections afforded under section 1522.          This is not permitted under the

Bankruptcy Code. See Jaffe, 737 F.3d at 24-27 (holding that any executory contracts sought to

be considered among debtor’s assets must be afforded protections of § 365 and § 1522 such that

foreign representative seeking chapter 15 recognition and relief could not avoid application of

§ 1522 when seeking discretionary relief afforded under § 1521 in connection with contracts).

               31.     Algoma and the Foreign Debtors are not entitled to obtain blanket

application of section 365 to any contract they please without consideration of the protections

offered by section 1522, no matter how essential they deem a contract.            The Court is not

required, in considering the Foreign Debtors’ request for discretionary relief to apply section 365

under section 1521, “to blind itself to the costs that awarding such relief would impose on others

under the rule provided by the substantive law of the State where the foreign insolvency

proceeding is pending.” Id. at 29. Section 1522 “requires the court to ensure that the relief a

foreign representative requests under section 1521 does not impinge excessively on any one

entity’s interests, implying that each entity must receive at least some protection. And because

the interests of the creditors and the interests of the debtor are often antagonistic, . . . providing

protection to one side might well come at some expense to the other.” Id. at 27. “The analysis

required by section 1522(a) is therefore logically best done by balancing the respective interests

based on the relative harms and benefits in light of the circumstances presented, thus inherently

calling for application of a balancing test.” Id. at 27-28. Each party that Algoma seeks to bind

through section 365 is entitled to receive due consideration of its interests by this Court,

including through a full and fair consideration and application of the rights and protections

afforded under section 1522 to each party implicated.




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            B.     If Approved As Drafted, The Proposed Recognition Order Could Recognize
            Relief Sought Against Cliffs In The CCAA Proceeding At Odds With Chapter 15’s
            Protections.

                  32.    The Foreign Debtors are seeking relief in the CCAA Proceeding with

respect to Cliffs that this Court should not enforce and, at a minimum, should not enforce

without a thorough analysis and hearing taking into account protections of Chapter 15.

                  1.    The Foreign Debtors are seeking unprecedented relief in the CCAA
                  Proceeding that also is unavailable before this Court.

                  33.    Having failed to honor its contractual obligations and having refused to

come to a commercial resolution on “just in time” terms matching its approach to supply, the

Foreign Debtors seek to have the Canadian Court provide Algoma a windfall—supply on the

terms it wants, without any of the attendant burdens. Cliffs and Algoma do not have an existing

supplier relationship—Cliffs has not delivered any iron ore pellets to Algoma since October 7,

when the last train delivery                              finished loading. (Mee Aff. ¶¶ 38, 55.)

When Algoma filed for CCAA protection and Chapter 15 recognition, the Agreement had been

terminated in accordance with Ohio law for over a month. Having refused Cliffs’ reasonable

offers for a negotiated resolution, Algoma is attempting to use the CCAA Proceeding to obtain

greater rights than it has under state contract law or U.S. bankruptcy law. Should Algoma

succeed on its Critical Supplier Motion in the CCAA Proceeding, the overbroad relief sought in

the Proposed Recognition Order would give the related order automatic recognition.

                  34.    There is no precedent for this relief under the CCAA. There are no prior

cases in which a court applying the CCAA deemed a party not currently in a supplier relationship

with the debtor a “critical supplier” and compelled that party to supply the debtor. See CCAA

§ 11.4(1) (“On application by a debtor company and on notice to the secured creditors who are

likely to be affected by the security or charge, the court may make an order declaring a person to



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be a critical supplier to the company if the court is satisfied that the person is a supplier of goods

or services to the company and that the goods or services that are supplied are critical to the

company’s continued operation.”) (emphases added). Further, the Canadian Court does not have

jurisdiction over Cliffs or the Agreement, as it is governed by U.S. law (Ohio) and is performed

by Cliffs solely within the United States (Michigan and Ohio). 8

                  35.       There also is no support for this relief under U.S. Bankruptcy law. A

debtor cannot compel performance of a terminated executory contract. “[T]here is no provision

of the Code which permits assumption or the curing of defaults in a contract terminated before

bankruptcy.” In re LJP, Inc., 22 B.R. 556, 558 (Bankr. S.D. Fla. 1982) (“The explicit provision

for assumption of executory contracts [in § 365] convinces me that there is no legislative

intention to permit assumption or reinstatement of contracts which have expired or have been

terminated before bankruptcy.” (citing Matter of Benrus Watch Co. Inc., 13 B.R. 331 (Bankr.

S.D.N.Y. 1981))). Where, as here, the contract was terminated under controlling state contract

law prior to the bankruptcy filing, the debtor cannot compel reinstatement of the contract,

through injunctive relief or otherwise. Id. (denying debtors’ motion for mandatory injunction

seeking to compel reinstatement of bottling agreement under which debtor had produced and

sold Royal Crown Cola because the company had terminated the agreement under state law

based on the debtors’ financial position and failure to pay before the bankruptcy filing).

                  36.       Indeed, the Foreign Debtors have provided no support for their requested

application of section 365 to a contract terminated prior to the bankruptcy filing date with a

former supplier. The mere fact that the supply contract was “a valuable and important asset”
            8
           Algoma states, without explanation, that “contract counterparties, including those whose contracts are
exclusively governed by U.S. law, are subject to the jurisdiction of the Canadian Court and bound by the CCAA
Initial Order.” (D.I. 8 at 13, ¶ 33.) Cliffs disputes this assertion to the extent that it implies that the Canadian Court
has jurisdiction to make any and all determinations with respect to the Agreement.




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(D.I. 8 at 13, ¶ 33, fn. 4) or believed to be “essential” (D.I. 9 at 4, ¶ 5) does not give the court

discretion to reinstate a contract and compel performance. See In re LJP, Inc., 22 B.R. at 559

(rejecting “the debtor’s contention that this court has equitable discretion to reinstate a contract,

which has been validly terminated before bankruptcy, because that contract is essential to the

debtor’s reorganization”). 9 “Section 105 ‘does not authorize the bankruptcy courts to create

substantive rights that are otherwise unavailable under applicable law, or constitute a roving

commission to do equity.’” In re Premier Auto. Servs., 343 B.R. 501, 515 (Bankr. D. Md. 2006)

(quoting Wilner Wood Prods. Co. v. State of Maine, Dept. of Evtl. Prot., 128 B.R. 1, 3 (D. Me.

1991) (citing United States v. Sutton, 786 F.2d 1305, 1308 (5th Cir. 1986))).

                 2.     The Foreign Debtors are asking this Court to give blanket recognition
                 and enforcement to orders in the CCAA Proceeding, without considering the
                 protections of Chapter 15.

                 37.      The Foreign Debtors have asked the Canadian Court to exercise

extraterritorial jurisdiction to enter a mandatory injunction that compels Cliffs to supply pellets

to Algoma as if the Agreement were still in force. Should the Canadian Court grant that request,

the overbroad relief sought in the Proposed Recognition Order would give the related order

automatic recognition and thrust both courts into the middle of the dispute pending in the Ohio

Litigation.

                 38.      This Court should subject any recognition of such injunctive orders to a

full, independent review rather than grant the blanket recognition the Foreign Debtors request.

“[R]ecognition under Section 1517 of the Bankruptcy Code is not a ‘rubber stamp exercise.’” In


            9
           See also In re Premier Auto. Servs., 343 B.R. 501, 522 (Bankr. D. Md. 2006) (holding bankruptcy filed in
bad faith where reorganization depended on entry into long term lease and bankruptcy court “may neither compel
MPA [non-debtor] to enter into a long term lease with Premier [debtor holdover tenant] as to Lot 90, nor compel
MPA to agree to Premier’s sublease of Lot 401” because § 365 does not apply to non-renewed contracts that expired
pre-petition and were unenforceable under state law).




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re Ran, 607 F.3d 1017, 1021 (5th Cir. 2010) (quoting In re Basis Yield Alpha Fund (Master), 381

B.R. 37, 40 (Bankr. S.D.N.Y. 2008)). Although Cliffs recognizes that the “broad, flexible”

approach to comity under Chapter 15 does not require that the relief sought in a foreign

proceeding be available in the United States, “[n]evertheless, Chapter 15 does impose certain

requirements and considerations that act as a brake or limitation on comity, and preclude

granting the relief requested by a foreign representative.” In re Vitro SAB De CV, 701 F.3d

1031, 1053-54 (5th Cir. 2012) (denying enforcement of Italian bankruptcy order that purported

to permanently enjoin actions brought against debtor’s subsidiaries and to discharge obligations

and liabilities they owned, although recognition of the bankruptcy proceeding in general was

granted). 10

                  39.      Moreover, the Foreign Debtors should not be allowed to avoid the well-

recognized principle that “judgments of foreign courts awarding injunctive relief, even as to

private parties, . . . ‘are not generally entitled to enforcement.’” Medellin v. Texas, 552 U.S. 491,

522 (2008) (quoting Restatement (Third) of Foreign Relations Law of the United States § 481,

Comment b, p. 595 (1986)). 11 The order that the Foreign Debtors seek in Canada is for relief

that is not available under U.S. law, and they are not entitled to recognition of that order in this

proceeding without consideration of Chapter 15’s protections.




            10
            See also In re Treco, 240 F.3d at 159 (“A court must consider the effect of the difference in the law on
the creditor in light of the particular facts presented.”); In re Sivec SRL, 476 B.R. 310, 324 (Bankr. E.D. Okla. 2012)
(“The fact that priority rules and treatment of claims may not be identical is insufficient to deny a request for comity.
What this Court must consider is the effect of that difference on the creditor in light of the existing facts.”).
            11
            See also Pilkington Bros. P.L.C. v. AFG Indus. Inc., 581 F. Supp. 1039, 1042 (D. Del. 1984) (denying
request for a preliminary injunction “that will exactly track the wording of the interim injunctive order issued by the
English High Court of Justice” obtained during pendency of arbitration because engaging a second judicial entity
into an ongoing proceeding in a foreign country would lead to inconsistent results and confusion between the entities
such that enforcement in Delaware was improper).




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                  40.    Cliffs respectfully requests that this Court consider each provision of the

Proposed Recognition Order independently for its potential effect on Cliffs and other third

parties so as to not allow the Foreign Debtors to receive predisposition of matters yet to be

addressed.

            C.    The Underlying Dispute Between The Parties Should Be Decided By, And Is
            Already Before, The U.S. District Court For The N.D. Ohio.

                  41.    The Foreign Debtors’ Critical Supplier Motion in the CCAA Proceeding

seeks an order compelling Cliffs to supply ore as if the Agreement was never terminated and

Algoma had not been found in material breach. (See Critical Supplier Mot., Marwah Aff. at

¶ 54). What Algoma really is trying to do here is to relitigate issues on which it already lost in

litigation in the N.D. Ohio and on which it was about to go to trial—the Affidavit of Rajat

Marwah filed in support of the Critical Supplier Motion admits “[t]here are a number of material

issues in dispute and in existing litigation in connection with the Cliffs Contract and Cliffs’

purported termination thereof” and that Algoma seeks relief in the CCAA Proceeding “[p]ending

a resolution of these disputes.” (Id., Marwah Aff. ¶ 7 (emphases added).)

                  42.    It is undisputed that, immediately after the termination on October 5,

Algoma moved on October 6 for a temporary restraining order and preliminary injunction in the

Ohio Litigation to compel Cliffs to continue to perform on the ground that the termination was

invalid. (Mee Aff. ¶ 43, Ex. 32 (Def.’s Mot. for T.R.O., Cliffs v. Essar (Oct. 6, 2015) [D.I. 55];

Def.’s Mot. for Prelim. Inj., id. (Oct. 6, 2015) [D.I. 56]).) Algoma voluntarily withdrew that

petition on October 15. (Mee Aff. ¶ 49, Ex. 35 (Def.’s Notice of Withdrawal of Mot. for T.R.O.

and Mot. for Prelim. Inj., id. (Oct. 15, 2015) [D.I. 68]).) Now over a month later, having filed

for bankruptcy in the interim, Algoma seeks to use its bankruptcy proceedings to get the relief

that it chose not to pursue in the existing litigation on the same subject.



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               43.     Whether or not Cliffs validly terminated the parties’ previous supply

agreement, and thus whether or not Algoma was in breach of its obligations thereunder, are

issues that were fully before the N.D. Ohio in that pending litigation at the time that the Foreign

Debtors made their CCAA and Chapter 15 filings. These filings have allowed Algoma to stay

the Ohio Litigation, but they should not change the forum for adjudication. As will be more

fully set forth in Cliffs’ forthcoming motion to withdraw the reference, the parties’ contractual

dispute should be decided by the Ohio court.

               44.     Cliffs is not unwilling to supply pellets to Algoma.         What Cliffs is

unwilling to do is to supply on terms that are onerous and that provide little benefit to Cliffs

based on Algoma’s failure to live up to its obligations. Indeed, it was not the failure of Cliffs to

negotiate in good faith that created the impasse between the parties following termination, but

the inability of the parties to come to terms on a “just in time” supply agreement. Cliffs cannot

agree to supply on terms that do not account and compensate for the risks involved with a short

term supply arrangement.

                REQUEST FOR SPECIFIC CHANGES TO FINAL ORDER

               45.     Cliffs respectfully requests that any relief provided by a final order

balance the interests of the creditors and other affected parties, including Cliffs. Accordingly,

Cliffs believes that the final order should confirm that nothing contained therein shall limit,

modify, or exempt the Foreign Debtors from their obligations under Section 1522 of the United

States Bankruptcy Code and further clarify that (i) the relief granted is subject to the limitations

and protections set forth in sections 361, 362, 364, 365, 1520, 1521, and 1522 (to the extent

section 1521 relief as requested by the Foreign Representative is deemed necessary by this

Court) and (ii) nothing in the final order shall determine the forum for adjudication of matters

implicating U.S. law, which shall be reserved and addressed as contemplated by sections 1525,


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1527 and other applicable law. A proposed final order with Cliffs’ requested revisions shown in

redline is submitted herewith as Exhibit A.

                                                 CONCLUSION

            For the reasons set forth above, Cliffs respectfully requests that this Court (i) sustain this

Objection, (ii) refrain from issuing any order, including the Proposed Recognition Order, that

would give blanket recognition to all orders, rulings, findings, or transactions in the foreign

proceeding, (iii) provide Cliffs with adequate protection and/or sufficient protection for its rights

in the form and manner set forth above, and (iv) grant to Cliffs such other and further relief as

the Court deems just and proper. 12




            12
            By submitting this objection, Cliffs is not waiving, and specifically reserves, any rights to assert any and
all defenses to any specific relief that has been or may be sought by Algoma or the Foreign Debtors in this Court or
in the CCAA Proceeding with respect to Cliffs. In particular, Cliffs reserves the right to assert any and all defenses
to the motion to compel and complaint for declaratory judgment once served and a schedule for adjudication is set.
Cliffs further reserves the right to assert any and all defenses to any relief sought impacting Cliffs in the CCAA
Proceeding, including the Critical Supplier Motion. To be clear, any cooperation or compliance that has been or
may be offered is without prejudice to Cliffs’ position that the Agreement was effectively terminated before Algoma
filed for bankruptcy and is, therefore, beyond the reach of the Canadian Court or this Court as an executory contract
assumable under section 365.




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Dated: November 25, 2015            Respectfully submitted,



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